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                               EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 CELLULAR COMMUNICATIONS                   §
 EQUIPMENT LLC,                            §
                                           §
       Plaintiff,                          §         C.A. No. 2:20-cv-00078-JRG
                                           §
 v.                                        §         JURY TRIAL DEMANDED
                                           §
 HMD GLOBAL OY,                            §
                                           §
        Defendant.                         §




                                    EXHIBIT A

                    PLAINTIFF’S CLAIM CONSTRUCTION CHART

                              U.S. Patent No. 7,218,923

           Claim Term                Plaintiff’s Proposed      Supporting Evidence
                                        Construction
 “a message of the messages” “one or more, but less than      ’923 Patent: Abstract;
 (claim 1)                   all, of the messages”            1:34-56; 1:57-2:10;
                                                              2:11-22; 2:23-31; 2:32-
                                                              53; 3:34-56; 3:56-4:19;
                                                              4:20-5:13; 6:20-48;
                                                              7:13-55; 8:58-9:7; 9:10-
                                                              35; 9:43-55; 9:56-10:6;
                                                              10:20-25; 10:42-50;
                                                              10:58-11:5; 11:13-19;
                                                              11:27-50; 12:22-50;
                                                              Figs. 1-10.

                                                              Office Action Response
                                                              dated June 2, 2006.

                                                              Office Action Response
                                                              dated November 16,
                                                              2006.
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                                                            Index of Claims dated
                                                            January 8, 2007.

                                                            IPR2015-01927, Paper
                                                            Nos. 1, 7, 8.

                                                            Cellular
                                                            Communications
                                                            Equipment LLC v. HTC
                                                            Corporation, el al.,
                                                            Case No. 6:13-cv-507,
                                                            Dkt. Nos. 363, 413,
                                                            454.

                                                            Defendant’s Invalidity
                                                            Contentions.

                                                            Expert declaration of
                                                            Anthony DeRosa.

                                                            Any additional evidence
                                                            relied on by Defendant.
 “the messages” (claim 8)      Plain and ordinary meaning   ’923 Patent: Abstract;
                                                            1:34-56; 1:57-2:10;
                                                            2:11-22; 2:23-31; 2:32-
                                                            53; 3:34-56; 3:56-4:19;
                                                            4:20-5:13; 6:20-48;
                                                            7:13-55; 8:58-9:7; 9:10-
                                                            35; 9:43-55; 9:56-10:6;
                                                            10:20-25; 10:42-50;
                                                            10:58-11:5; 11:13-19;
                                                            11:27-50; 12:22-50;
                                                            Figs. 1-10.

                                                            Office Action Response
                                                            dated June 2, 2006.

                                                            Office Action Response
                                                            dated November 16,
                                                            2006.

                                                            Index of Claims dated
                                                            January 8, 2007.


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                                                         IPR2015-01927, Paper
                                                         Nos. 1, 7, 8.

                                                         Cellular
                                                         Communications
                                                         Equipment LLC v. HTC
                                                         Corporation, el al.,
                                                         Case No. 6:13-cv-507,
                                                         Dkt. Nos. 363, 413,
                                                         454.

                                                         Defendant’s Invalidity
                                                         Contentions.

                                                         Expert declaration of
                                                         Anthony DeRosa.

                                                         Any additional evidence
                                                         relied on by Defendant.




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